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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT oF TENNESSEE @5 JUH 20 m 2: 53
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KAY sWEENz-:Y,
Plaintiff,
vsl

NO- _Q.M

RIVER WAFFLES, LLC, and
MARKETPLACE INVESTMENTS, LLC,

Defendants.

 

ORDER

 

Before the Court is Plaintiff Kay Sweeney's Motion to Amend
Complaint, filed on March 30, 2005 (dkt # 26). Defendant River
Waffles, LLC filed its response on April 4. The Court held a
hearing on the motion on April 15, and counsel for both parties
were present. For the following reasons, the motion is GRANTED.

Sweeney filed this lawsuit on July 22, 2004, alleging River
Waffles, LLC, as the owner of two Waffle House restaurants,
violated Title III of the Americans with Disabilities Act, 42
U.S.C. § 12181, et seg. She filed the present motion to amend
complaint to add two entities: Marketplace Investments, LLC, the
owner of land and fixtures leased by River Waffles, and Marketplace
Holdings, Inc., the owner of River Waffles. At the motion hearing,

the Court granted the motion as to Marketplace Investments under

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Rule 15. It also requested the parties to provide supplemental
briefs on the issue of whether it would be proper to add
Marketplace Holdings as a party. Sweeney filed a supplemental
brief on April 25, and River Waffles filed its reply on May 4.

After a responsive pleading has been filed to a complaint,
Rule 15(a) provides that a party may file an amended complaint
“only by leave of the court or by written consent of the adverse
party,” but such “leave shall be freely given when justice so
requires.” Fed. R. Civ. P. lB(a). The rule “reinforce[s] the
principle that cases ‘should be tried on their merits rather than
the technicalities of pleadings.’” Moore v. Citv of Paducah, 790
F.2d 557, 559 (6th Cir. 1986) (quoting Tefft v. Seward, 639 F.2d
637, 639 (6th Cir. 1982)), and therefore assumes “a liberal policy
of permitting amendments.” Ellison v. Ford Motor Co., 847 F.2d
297, 300 (6th Cir. 1988).

A court may deny a motion for leave to amend the complaint if
the amendment would be futile. Yuhasz v. Brush Wellman, Inc., 341
F.3d 559, 569 (6th Cir. 2003)(citing Foman v. Davis, 371 U.S. 178,
182 (1962)). “A proposed amendment is futile if the amendment
could not withstand a Rule l2(b)(6) motion to dismiss.” Rose v.
Hartford Underwriters Ins. Co., 203 F.3d 417, 420 (6th Cir.
2000)(citing Thiokol Corp. v. Dep’t of Treasury, 987 F.2d 376, 382-
83 (6th Cir. 1993)). Nevertheless, the record before the Court is

insufficient to overcome this liberal policy. Moreover, case law

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suggests that parent companies may be sued with their subsidiaries
under the ADA. _g§ Molski v. Gleich, 318 F.Bd 937, 942 n.l (9th
Cir. 2003); United States v. AMC Entm't, Inc., 245 F.Supp.2d 1094,
1095 (C.D. Cal. 2003); Assoc. for Disbled Americansl Inc. v.
Concorde Gaming Corp., 158 F.Supp.2d 1353, 1364 (S.D. Fla. 2001).
Therefore, the Court shall permit Sweeney to add. Marketplace
Holdings, Inc. as a defendant. This order does not preclude
Marketplace Holdings from filing motions to dismiss, if

appropriate, after it has been joined in this case.

Accordingly, Sweeney's Motion to Amend Complaint is GRANTED.

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TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

 

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Date

 

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
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Honorable Tu Pham
US DISTRICT COURT

